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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

____________________________________
                              )
IN RE PHARMACEUTICAL INDUSTRY )                     MDL NO. 1456
AVERAGE WHOLESALE PRICE       )
LITIGATION                    )                     CIVIL ACTION: 01-CV-12257-PBS
                              )
THIS DOCUMENT RELATES TO:     )                     JUDGE PATTI B. SARIS
ALL ACTIONS                   )
                              )


                                    [PROPOSED] ORDER

                Now, this ___________ day of _________________, 2005, upon consideration of

Motion To Permit Nicholas Patrick Mizell To Appear Pro Hac Vice, it is hereby ORDERED,

ADJUDGED and DECREED that said Motion is granted and that Nicholas Patrick Mizell may

appear and practice in this Court in the above-captioned matter.



                                                    __________________________________
                                                    United States District Judge




BOS-744859 v1
